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 1                                      INTRODUCTION
 2         1. This is a RICO and civil rights action brought under 42 U.S.C. §1962, 42
 3   U.S.C. §§1983 and 1985, and various related state laws by Plaintiffs against the City of
 4
     Maywood, the Maywood-Cudahy Police Department, and their employees individually
 5
     and in their official capacities, for injunctive relief and compensatory and punitive
 6
     damages because of a continuing systematic abuse of authority, including but not limited
 7
     to unlawful searches and seizures of person and property; wrongful detentions and
 8

 9   arrests, falseimprisonments, maliciousprosecutions, cover ups, false reportwriting, use

10   of excessive and unnecessary force, sexual assaults and other acts of lawlessness.
11   Plaintiff(s) first filed this action in Gonzalez v. City of Maywood, CV 07 3469 ODW
12   (Shx), on May 29, 2007; on January 28, 2008, the Court ordered the Plaintiffs’ actions
13   be severed and refiled as a separate case.
14
                                         JURISDICTION
15
           2. This case is brought pursuant to 18 U.S.C. § 1961 and 42 U.S.C. §§ 1983,
16
     1985 and 1986. Jurisdiction is based upon 28 U.S.C. §§ 1331 and 1343 (1-4). This
17
     court also has supplemental jurisdiction over the state claims and over defendants
18

19   pursuant to 28 U.S.C. § 1367. Plaintiffs are victims of City of Maywood employees

20   acting under color of law and within the scope of their authority and pursuant to the
21   policies and practices of the entities.
22                                             VENUE
23         3. The claims alleged herein arose from events or omissions occurring in the
24
     County of Los Angeles. Therefore, venue lies in the Central District of California. 28
25
     U.S.C. 1391(b)(2).
26
                                          PLAINTIFFS
27
           4. Plaintiffs are residents of the County of Los Angeles, State of California. At
28

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 1   all times material to this complaint, Plaintiffs were private persons in the State of
 2   California, United States of America.
 3                                       DEFENDANTS
 4
           5. Plaintiffs are informed and believe and thereon allege that at all times herein
 5
     mentioned defendants City of Maywood, the Maywood-Cudahy Police Department, and
 6
     Does 1 through 5, were and are public entities duly organized and existing as such under
 7
     the laws of and within the State of California under the laws of the United States and the
 8

 9   laws of the State of California.

10         6. Plaintiffs are informed and believe and thereon allege that at all times herein
11   mentioned defendants Bruce Leflar, Paul Pine, and Does were and/or are police
12   supervisors and/or policymakers for the City ofMaywood, the Maywood-Cudahy Police
13   Department and Does 6 through 15, and in such capacity were/are managersand/or chief
14
     administrators and/or policy makers. The named entities, supervisors and Does are
15
     responsible for, among other things, the employment, discharge, training, supervision,
16
     control, assignment and discipline of all sworn and civilian personnel of their entities
17
     and the formulation,       promulgation, adoption, application, implementation,
18

19   administration, enforcement and revocation of the policies and practices of the named

20   entities and Does.
21         7. Plaintiffs are informed and believe and thereon allege that the actions of named
22   and Doe supervisors were committed while employed by the entities and represent the
23   customs, practices and policies of the entities.       The acts herein described and
24
     complained of were committed and done pursuant to policies, rules, regulations,
25
     practices, customs, and/or usages (hereinafter "policies and practices") of the entities
26
     and were created and enforced by the managers and/or supervisors and/or policy makers.
27
           8. Plaintiffs are informed and believe and thereon allege that the defendants
28

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 1   Muriello and Does are individual officers or agents of the City of Maywood and/or the
 2   Maywood-Cudahy Police Department and/or others at the times of the acts herein
 3   complained of.
 4
           9. The true names and capacities of defendants Does 1-30 are presently unknown
 5
     to plaintiffs; who therefore sue each of these defendants by such fictitious names; but
 6
     upon ascertaining the true identity and/or liability of a defendant Doe, Plaintiffs will
 7
     amend this Complaint or seek leave to do so by inserting the true name in lieu of the
 8

 9   fictitious name. Plaintiffs are informed and believe and thereon allege that each

10   defendant Doe herein is in some manner responsible for the injuries and damages herein
11   complained of.
12                                    INCORPORATION
13         10. The above paragraphs are hereby repeated, realleged and incorporated by this
14
     reference in each cause of action.
15
                    FACTS COMMON TO ALL CLAIMS FOR RELIEF
16
           11. On or about February 5, 2007, at 4351 East 55th Street, Maywood, Officer
17
     Muriello wrongfully harassed, detained, arrested, assaulted, battered, threatened with
18

19   malicious prosecution, searched and sexually assaulted Vanessa Garcia and Shannon

20   Board. Muriello also threatened to plant drugs on Plaintiffs and take them to jail if they
21   complained about his conduct. Officer Muriello called Ms. Garcia on her telephone and
22   told her he wanted to have sex with her and that he was coming over with beer. He said
23   she had to participate or he would take her to jail. Officer Muriello drove by Ms.
24
     Garcia's home 2-3 times a day after that and repeatedly told them he would take her and
25
     Ms. Board to jail. Subsequently Muriello did bring beer to Ms. Garcia's home and
26
     groped Ms. Board's breast and grabbed Ms. Garcia's crotch when they stood near his
27
     police car. The next day Muriello stopped Ms. Garcia, had her place her hands behind
28

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 1   her back and put his hand down her pants touching her buttocks and her vagina. Ms.
 2   Board witnessed this from inside. The next day Muriello came to Ms. Garcia's home in
 3   plain clothes, followed Ms. Garcia into her apartment, tried to get her and her son to
 4
     come into the bedroom, kissed her against her will and left with a smirk on his face. The
 5
     next day, February 14, 2007, Muriello called Ms. Garcia several times at home. On
 6
     February 15, 2007, Muriello came into Ms. Garcia's apartment again, kissed her against
 7
     her will and left when a friend pulled into her driveway. After that, Muriello called Ms.
 8

 9   Garcia and Ms. Board and told them he wanted to have sex with them at the same time.

10   Both women left Maywood for several weeks in fear for their safety as a result of
11   Muriello's conduct. On March 7, 2007, Muriello encountered Ms. Garcia and Ms. Board
12   who by then had returned to Maywood. He repeated his threats and desires to them.
13   Plaintiffs were never taken to jail or charged with a crime. Shortly after the last incident
14
     Ms. Garcia moved to her mother's home in another county. Plaintiffs are informed and
15
     believe and thereon allege that defendants committed these wrongful acts because they
16
     believed in the existence of and actively participated in the code of silence in the
17
     Maywood/Cudahy Police Department allowing them to engage in wrongful conduct and
18

19   obstruct justice with impunity.

20         12. Plaintiffs are informed and believe and thereon allege that defendants'
21   wrongful conduct included but is not limited to fraud, fraud by wire, obstruction of
22   justice, kidnaping and bribery.
23         13. Plaintiffs are informed and believe there are numerous other similar victims
24
     of defendants' wrongful acts who are afraid to seek, and/or unable to seek redress
25
     because of their reasonable fears of retaliation, and/or because they are recent
26
     immigrants who are reasonably concerned about the lawfulness of their status, and/or
27
     because they are unable to find representation.
28

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  1         14. Plaintiffs complied with the provisions of the California Tort Claims Act.
  2                             The Maywood Police Department
  3         15.     Plaintiffs are informed and believe and thereon allege that the
  4
      Maywood-Cudahy Police Department has for years been a department composed of
  5
      persons not conforming their conduct to the requirements of the law, or to established
  6
      standards of proper police practices.
  7
            16. Plaintiffs are informed and believe and thereon allege that the defendants,
  8

  9   officers and supervisors within the Maywood-Cudahy Police Department, invidiously

 10   singled out, targeted and violated the rights of recent immigrants and/or persons
 11   defendants perceived to be recent immigrants because defendants knew that recent
 12   immigrants were easy victims, afraid to exercise their rights, and readily subject to
 13   retaliation if they attempted to exercise their rights.
 14
            17. Plaintiffs are informed and believe and thereon allege that the violations of
 15
      individuals' rights by Maywood-Cudahy officers occurred not because of a few "bad
 16
      apples" but is instead the result of a culture of lawlessness permeating the entities and
 17
      constituting and/or proximately caused by their routine practices, including a code of
 18

 19   silence and conspiracy to obstruct justice.

 20         18.     Plaintiffs are informed and believe and thereon allege that the
 21   Maywood-Cudahy police department regularly hires police officers who have been
 22   pushed out of other law enforcement agencies for crimes or serious misconduct,
 23   including but not limited to: A former Los Angeles County sheriff's deputy terminated
 24
      for abusing jail inmates; a onetime Los Angeles Police Department officer fired for
 25
      intimidating a witness; and an ex-Huntington Park officer charged with negligently
 26
      shooting a handgun and driving drunk.
 27
            19. Plaintiffs are informed and believe and thereon allege, based in part upon
 28

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  1   allegations contained in a Superior Court complaint filed by Maywood-Cudahy Officer
  2   Pablo Cunningham, one of the named defendants in this action (and in many other
  3   federal civil rights actions, as alleged below), that supervisors required officers to
  4
      "engage in racial profiling and quotas," and that Cunningham was "threatened by [
  5
      Police Chief Bruce] Leflar with loss of his job after he refused to engage in racial
  6
      profiling." Plaintiffs are informed and believe that Cunningham was fired by the
  7
      Maywood-Cudahy Police Department and then rehired because he threatened to expose
  8

  9   improprieties within the department.

 10          20. Plaintiffs are informed and believe and thereon allege, as pleaded by
 11   Defendant Cunningham his Superior Court complaint, that defendants covered up
 12   misconduct including excessive force, promoted a code of silence and conspiracy to
 13   obstruct justice, hired peopleunfit to be officers (for improper reasons, including but not
 14
      limited to their connections to other City officials), extorted people for sex, and took
 15
      kickbacks and bribes.
 16
             21. Plaintiffs are informed and believe and thereon allege that official public
 17
      records document that Pine resided in an apartment owned by the proprietors of a tow
 18

 19   yard. Plaintiffs are informed and believe that the tow yard owner is Maywood Club

 20   Tow.
 21          22. Plaintiffs are informed and believe that Pine was permitted to live in the
 22   apartment as a quid pro quo for Pine's assistance in causing the towing, impoundment,
 23   and sale of vehicles, for the illicit gain of Pine, the City of Maywood, the
 24
      Maywood-Cudahy Police Department, Does, and others.
 25
             23. Plaintiffs are informed and believe and thereon allege that Maywood Club
 26
      Tow and/or its owners and/or Does gave money and/or things of value to defendants as
 27
      a quid pro quo for the assistance and cooperation of defendants in causing the towing,
 28

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  1   impoundment, and sale of vehicles.
  2         24. Plaintiffs are informed and believe that governing officials of the City of
  3   Maywood received money and/or things of value from Maywood City Tow and/or its
  4
      owners, and/or Does as a quid pro quo for, among other things, starting, continuing,
  5
      implementing and/or protecting defendants' illicit vehicle towing scheme.
  6
            25. Plaintiffs are informed and believe that the Cities of Maywood and Cudahy
  7
      and the Maywood-Cudahy Police Department did a land-office business with Maywood
  8

  9   Club Tow, towing, impounding, confiscating, and selling vehicles, and reaping huge

 10   profits in doing so, and that Pine and other defendants were personally involved in this
 11   illicit, fraudulent and criminal practice, including the conduct of supposed hearings to
 12   determine whether vehicles should be returned to their owners. The involvement of
 13   defendants including Pine in the hearings made them unfair and deprived vehicle owners
 14
      of due process of law.
 15
            26. Plaintiffs are informed and believe and thereon allege that existence of graft
 16
      and corruption, and the knowledge of the graft and corruption, within the
 17
      Maywood-Cudahy Police Department and the City of Maywood, including but not
 18

 19   limited to the illicit, fraudulent and criminal scheme to tow, impound and sell vehicles,

 20   made it difficult and/or impossible for any supervisor to exercise meaningful
 21   supervision and/or to discipline officers who abused people and violated the law, for
 22   fear that officers would blow the whistle on the corruption and nepotism including but
 23   not limited to the vehicle towing scheme, if any meaningful discipline were threatened
 24
      or imposed and proximately caused, fostered and contributed to the code of silence and
 25
      conspiracy to obstruct justice within the department.
 26
            27. Plaintiffs are informed and believe that the code of silence and defendants’
 27
      conspiracy to obstruct justice, and an absence of meaningful supervision and discipline,
 28

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  1   was each a proximate cause of defendants’ violations of Plaintiffs’ rights.
  2         28.     Plaintiffs are informed and believe and thereon allege that the
  3   Maywood-Cudahy Police Department does not have adequate procedures to supervise
  4
      and/or discipline its employees, including but not limited to the following:
  5
                    a.   Inadequate reporting requirements, including but not limited to
  6
            inadequate use-of-force reporting;
  7
                    b. Inadequate procedures for documenting and investigating citizens'
  8

  9         complaints, including but not limited to refusing to accept citizens' complaints,

 10         failing adequately to documents citizens' complaints, failing to investigate
 11         citizens' complaints, and failing to respond to court orders requiring defendants
 12         to disclose citizens' complaints.
 13         29. Failures by all the supervisor, manager and policy-making defendants to
 14
      provide oversight over the Maywood-Cudahy police, to make them follow the
 15
      requirements of the Constitution, and/or to stop officers from making false charges
 16
      against innocent persons and lying to support false charges, among other things, make
 17
      those defendants liable to plaintiffs.
 18

 19         30. Plaintiffs are informed and believe that all the injunctive relief prayed for in

 20   this complaint is necessary to stop the wide-scale violation of peoples' rights by
 21   defendants.
 22                              Scope and Nature of Allegations
 23         31. Plaintiffs are informed and believe and thereupon alleges that officials,
 24
      supervisors, policy makers and other individuals with the authority to set or modify
 25
      municipal and/or departmental policy, dejure or defacto, of Defendant City of
 26
      Maywood, participated in, approved of, ratified and/or failed to prevent the acts by
 27
      Defendants City of Maywood, Maywood-Cudahy Police Department, Bruce Leflar, Paul
 28

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   1   Pine, Cunningham and Does 1-30, complained of by Plaintiffs.
   2          32. Plaintiffs are informed and believe and thereon allege that at all times herein
   3   mentioned, each of the defendants; including officials, supervisors, watch commanders
   4
       and other policy makers from Defendant City of Maywood; was the agent, employee or
   5
       co-conspirator of one other, some, or all of their Co-defendants. Plaintiffs are informed
   6
       believe and thereupon allege that each of the defendants, acting individually, and in
   7
       concert with each other, engaged in a common plan wrongfully to deprive Plaintiffs of
   8

   9   Plaintiffs’ rights to: security in Plaintiffs’ person, property and effects, freedom from

  10   unreasonable searches and seizures, equal protection and due process of law, and of the
  11   right to seek redress and obtain compensation for the wrongs committed against
  12   Plaintiffs.
  13          33. In doing each and all of the things herein mentioned, or neglecting or
  14
       intentionally failing to rectify said misconduct, each and all defendants were acting
  15
       pursuant to a defacto policy and within the scope of such agency, employment and
  16
       conspiracy and with full permission, knowledge, approval, ratification and support of
  17
       each other.
  18

  19                                           Damages

  20          34. By reason of the aforementioned acts of defendants, and each of them,
  21   Plaintiffs were injured in Plaintiffs’ health, strength and activity, sustained great mental
  22   pain, suffering and shock to Plaintiffs’ nervous systems, torment, anxiety, anguish,
  23   humiliation and severe emotional distress, all to Plaintiffs’ damage in an amount
  24
       according to proof at trial. As a proximate result of the foregoing wrongful acts of
  25
       defendants, and each of them, property belonging to Plaintiffs were damaged and
  26
       destroyed in an amount according to proof.
  27
              35. Plaintiffs are informed and believe and thereon allege that, by reason of the
  28

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   1   aforementioned acts of defendants and each of them, Plaintiffs were and/or will in the
   2   future be required to receivehospital, medical, doctor, nursing, dental and psychological
   3   care and treatment, and by reason thereof, will incur expenses related thereto in an
   4
       amount according to proof at trial.
   5
             36. By reason of defendants’ wrongful acts, Plaintiffs were injured in Plaintiffs’
   6
       businesses and/or property, including but not limited to being unable to work and earn
   7
       money, and Plaintiffs will in the future be injured in Plaintiffs’ business and/or property
   8

   9   by sustaining a loss and impairment of earnings and earning capacity, in an amount

  10   according to proof at trial. By reason of defendants’ code of silence and conspiracy to
  11   obstruct justice, defendants have damaged, impaired and reduced the value of Plaintiffs’
  12   property interests, including but not limited to Plaintiffs’ property interest in his right
  13   and/or causes of action to obtain redress and compensation for the wrongs committed
  14
       against Plaintiffs.
  15
             37. Defendants acts were done and committed by each individual defendant
  16
       knowingly, deliberately and maliciously with the intent to oppress, injure and harass
  17
       Plaintiffs (with the exception of the claims by Plaintiffs based on negligence) and with
  18

  19   reckless indifference to Plaintiffs’ civil rights, personal security and safety, and by

  20   reason thereof, Plaintiffs prays for punitive and exemplary damages from and against
  21   individual defendants and each of them in an amount according to proof at trial.
  22                                  CLAIMS FOR RELIEF
  23                              FIRST CLAIM FOR RELIEF
  24
                       BY PLAINTIFFS AGAINST ALL DEFENDANTS
                      (Violation of RICO Statute - 18 U.S.C. §§ 1962(c), (d))
  25

  26         38. This cause of action is brought by Plaintiffs for treble damages for injury to
  27   his business or property including but not limited to lost employment and accrued
  28

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   1   interest resulting from the conduct alleged herein, which violates the provisions of 18
   2   U.S.C. §§ 1961-1968 (hereafter "RICO").
   3         39. The following constitute an enterprise within the meaning of RICO generally
   4
       and 18 U.S.C. § 1961(4) specifically:
   5
                    a. The Maywood-Cudahy Police Department;
   6
                    b. The City of Maywood;
   7
                    c. Maywood Club Towing Company;
   8

   9                d. The Association in Fact of defendants City of Maywood, Maywood-

  10         Cudahy Police Department, Maywood Club Towing Company (“the AIF
  11         Enterprise”).
  12         40. Plaintiffs are informed and believe and thereon allege that each enterprise
  13   alleged herein is an entity distinct from the pattern of racketeering activity alleged
  14
       herein; is or was an ongoing organization, formal or informal; and functions or
  15
       functioned as a continuing unit, to wit:
  16
                    a. The City of Maywood is a public entity with a formal structure and
  17
             capacity engaging in a wide range of activities, only part of which entails the
  18

  19         pattern of racketeeringactivity alleged in this complaint. The defendants charged

  20         with operating it under 42 U.S.C. § 1962 (c) were animated by, among other
  21         things, engaging in bribery, obstruction of justice, and fraud.
  22                b. The Maywood-Cudahy Police Department is a subdivision of the City
  23         of Maywood and City of Cudahy whose charge is enforcement of the laws of the
  24
             State of California and the Cities of Maywood and Cudahy, in which capacity it
  25
             has a formal structure and engages in a wide range of activities, only part of
  26
             which entails the pattern of racketeering activity alleged in this complaint. The
  27
             defendants charged with operating it under 42 U.S.C. § 1962 (c) were animated
  28

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   1         by, among other things, bribery, extortion, obstruction of justice, and kidnaping.
   2                c. Maywood Club Towing Company is a formally organized business
   3         entity engaged in the business of towing and impounding vehicles under a variety
   4
             of circumstances, only part of which entails the pattern of racketeering activity
   5
             alleged in this complaint. The defendants charged with operating it under 42
   6
             U.S.C. § 1962 (c) were animated by, among other things, the common purpose of
   7
             unlawfully impounding vehicles in order to collect and receive the illegal charges
   8

   9         resulting from the impound, and implemented the illegal scheme by mail fraud

  10         and bribery.
  11                d. The AIF Enterprise had an ascertainable structure, comprised of the
  12         Maywood-Cudahy Police Department, Maywood Club Towing Company, and the
  13         key individuals who directed the enterprise’s unlawful activities which included
  14
             but are not limited to Pine and Does. This structure was distinct from the pattern
  15
             of racketeering activity in that the enterprise’s activities encompassed both lawful
  16
             and unlawful activities. The AIF Enterprise’s associates were animated by
  17
             common purposes, including but not limited to unlawfully and fraudulently
  18

  19         impounding vehicles to collect and receive the illegal charges resulting from the

  20         impound and receive kickbacks, and to cover up and conceal their activities by
  21         obstructing justice in state and federal civil and criminal proceedings by means
  22         of a code of silence. The AIF Enterprise functioned as a continuing unit with
  23         continuity in both structure and personnel.
  24
             41. The activities of the enterprises affect interstate commerce in numerous ways,
  25
       including but not limited to: 1) the use of interstate mail, telephone and wires (including
  26
       transmission and dissemination of false arrests and false criminal charges); 2) the
  27
       purchase of materials for use in the enterprises which materials were in the stream of
  28

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   1   interstate commerce; 3) the provision of federal funds to the Maywood-Cudahy Police
   2   Department, received through the stream of interstate commerce; 4) oversight by federal
   3   governmental entities of various of the activities of the Maywood-Cudahy Police
   4
       Department and/or the City of Maywood, involving interstate travel and the expenditure
   5
       of funds through the stream of interstate commerce; 5) the interstate travel of various
   6
       of the owners of impounded vehicles to retrieve their impounded vehicles or attempt to
   7
       do so; 6) the travel, paid from proceeds of the pattern of racketeering activity alleged
   8

   9   herein, of members of the Maywood-Cudahy Police Department from California to Las

  10   Vegas; 7) the purchase of tow trucks, and gasoline and equipment for said trucks, used
  11   in furtherance of the pattern of racketeering activity alleged herein that reached the
  12   purchasers through the stream of interstate commerce.
  13         42. Defendants’ racketeering activities included but are not limited to the
  14
       following:
  15
                    a. Condoning and encouraging the fabrication of evidence including but
  16
             not limited to the filing of materially false police reports in tended to be used in
  17
             state and federal civil and criminal proceedings;
  18

  19                b. Condoning and encouraging a "code of silence," which keeps and/or

  20         dissuades employees from reporting the misdeeds of fellow employees, and/or
  21         causes and/or facilitates the preparation, submission and use of false official
  22         reports, and/or making false official statements, and/or perjury; and which thereby
  23         obstructs justice in official proceedings, including but not limited to state and
  24
             federal criminal investigations and proceedings, and/or state and federal civil
  25
             investigations and proceedings;
  26
                    c. Condoning and encouraging officers in the belief that their failure or
  27
             refusal to participate in the "code of silence" or to cover up or conceal the
  28

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   1         misconduct of other officers will cause them to be ostracized by other officers,
   2         will adversely affect their ability to get support from other officers in dangerous
   3         and/or life-threatening situations in the field and will adversely affect their
   4
             opportunities for promotion and other employment benefits, and which thereby
   5
             obstructs justice in official proceedings, including but not limited to state and
   6
             federal criminal investigations and proceedings, and/or state and federal civil
   7
             investigations and proceedings;
   8

   9                  d. Condoning and encouraging the acceptance of "gratuities," "kickbacks,"

  10         and/or other wrongful and/or illicit compensation, which has the effect of
  11         strengthening defendants’ code of silence and conspiracy to obstruct justice by
  12         making all department employees, including but not limited to supervisors,
  13         vulnerable to accusations of misconduct and unable and/or unwilling to
  14
             accurately report misconduct, and/or to supervise and/or discipline subordinates.
  15
             43. Plaintiffs are informed and believe that defendants’ code of silence and
  16
       conspiracy to obstruct justice is and was operative in many state and federal
  17
       proceedings, including but not limited to the following federal cases:
  18

  19                  a. Jose Rodriguez and Guillermo De La Torre v. City of Maywood, CV

  20         99-9898 CBM (Ex);
  21                  b. Ortiz v. City of Maywood, Pablo Cunningham, et.al.,CV 06-3622 DSF
  22         (FMOx);
  23                  c. Flores v. City of Maywood, Pablo Cunningham, CV 04-7565 GPS (Ex)
  24
                      d. Pacheco v. City of Maywood, Pablo Cunningham, et.al., CV 06-7613
  25
             PSG (FFMx);
  26
                      e. Cruz v. City of Maywood, Paul [Pablo] Cunningham, CV 07-1999 PSG
  27
             (JCx);
  28

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   1                f. Sena v. City of Maywood, et.al., CV 07-1724 AHM (Jcx);
   2                g. Trujillo v. City of Maywood, et.al., CV 06-2738 PA (VBKx);
   3                h. Gonzalez v. City of Maywood, et.al., CV 05-6953 RJK (VBKx);
   4
                    i. Anderson (Estate) v. City of Maywood, et.al., CV 04-10119 RGK (Shx);
   5
                    j. Densmore v. Maywood, et.al., CV 06-3535 PSG (RZx).
   6
                                 SECOND CAUSE OF ACTION
   7                       (Violation of Civil Rights - 42 U.S.C. § 1983)
                                Monell and Supervisorial Liability
   8

   9         44. Plaintiffs are informed and believe and thereon allege that at all times herein

  10   mentioned, above named defendants with deliberate indifference, gross negligence
  11   and/or reckless disregard for the safety, security and constitutional and statutory rights
  12   of Plaintiffs maintained, enforced, tolerated, permitted, acquiesced in, and/or applied
  13   inter alia policies and practices which included directing and controlling the unlawful
  14
       acts complained of herein.
  15
             45. Said defendants and each of them, acting under color of state law, have
  16
       deprived Plaintiffs of rights, privileges, and immunities secured by the Constitution and
  17
       laws of the United States, in particular by the First, Fourth, Fourteenth Amendments to
  18

  19   the United States Constitution by inter alia maintaining, enforcing, tolerating,

  20   permitting, acquiescing and, and/or applying the policies and practices set forth above.
  21   As a direct and proximate result of those policies and practices, Plaintiffs sustained
  22   injury and damage as described herein.
  23         46. Plaintiffs are informed and believe and thereon allege that the supervisorial
  24
       defendants ordered, authorized, acquiesced in, tolerated, or permitted other defendants
  25
       herein to engage in the unlawful and unconstitutional actions, policies, and practices set
  26
       forth above. Defendants' conduct alleged herein constitutes a pattern of illicit law
  27
       enforcement behavior, and statutory and constitutional violations based either on a
  28

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   1   deliberate plan by defendants or on defendants' deliberate indifference, gross
   2   negligence, or reckless disregard for the safety, security and constitutional and statutory
   3   rights of Plaintiffs which violations include:
   4
                    a. Stopping, detaining, and/or arresting people and/or entering homes,
   5
             and/or searching and/or seizing property and people, without required warrants,
   6
             reasonable suspicion and/or probable cause;
   7
                    b. Using unreasonable and/or excessive force;
   8

   9                c. Allowing and/or encouraging employees to brutalize, hurt and/or injure

  10         members of the public, by failing to require effective use-of-force training,
  11         supervision, discipline and reporting, including but not limited to not requiring
  12         employees to report uses of force, by permitting and/or encouraging false and/or
  13         misleading and/or incomplete reporting, and/or by failing adequately to monitor
  14
             employee uses of force;
  15
                    d. Condoning, tolerating and/or acquiescing in officers' engaging in racist
  16
             conduct and/or racially motivated attacks on minority members of the community,
  17
             and/or using racist speech when speaking with minorities and/or denigrating the
  18

  19         race and/or nationality of minority members of the community;

  20                e. Condoning, tolerating and/or acquiescing in officers' sexually abusing
  21         members of the community, including minors;
  22                f.   Failing adequately to investigate incidents involving the use of
  23         unreasonable force and/or other misconduct;
  24
                    g. Conducting investigations in such a manner as to conceal misconduct,
  25
             including but not limited to using investigative techniques and procedures known
  26
             to have that effect;
  27
                    h. Condoning and encouraging the fabrication of evidence including but
  28

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   1       not limited to the filing of materially false police reports;
   2             i. Condoning and encouraging a "code of silence," which keeps and/or
   3       dissuades employees from reporting the misdeeds of fellow employees, and/or
   4
           causes and/or facilitates the preparation, submission and use of false official
   5
           reports, and/or making false official statements, and/or perjury; and which thereby
   6
           obstructs justice in official proceedings, including but not limited to state and
   7
           federal criminal investigations and proceedings, and/or state and federal civil
   8

   9       investigations and proceedings;

  10             j. Condoning and encouraging officers in the belief that their failure or
  11       refusal to participate in the "code of silence" or to cover up or conceal the
  12       misconduct of other officers will cause them to be ostracized by other officers,
  13       will adversely affect their ability to get support from other officers in dangerous
  14
           and/or life-threatening situations in the field and will adversely affect their
  15
           opportunities for promotion and other employment benefits, and which thereby
  16
           obstructs justice in official proceedings, including but not limited to state and
  17
           federal criminal investigations and proceedings, and/or state and federal civil
  18

  19       investigations and proceedings;

  20             k. Condoning and encouraging the acceptance of "gratuities," "kickbacks,"
  21       and/or other wrongful and/or illicit compensation, which has the effect of making
  22       supervisors within the department vulnerable to accusations of misconduct and
  23       unable and/or unwilling to effectively supervise and/or discipline subordinates;
  24
                 l. Hiring individuals who are unsuited for police work, including but not
  25
           limited to hiring individuals who have been fired or disciplined by other law
  26
           enforcement agencies because they engaged in misconduct; and/or failing to
  27
           conduct appropriate and/or required background investigations.
  28

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   1         47. Defendants and each of them, acting under color of state law, have deprived
   2   Plaintiffs of rights, privileges, and immunities secured by the Constitution and laws of
   3   the United States, in particular by the First, Fourth, and Fourteenth Amendments to the
   4
       United States Constitution by inter alia maintaining, enforcing, tolerating, permitting,
   5
       acquiescing and, and/or applying the policies and practices set forth above. As a direct
   6
       and proximate result of those policies and practices, Plaintiffs have sustained injury and
   7
       damage as described hereinafter.
   8

   9         48. Plaintiffs are informed and believe and thereon allege that defendant entities

  10   and supervisorial defendants ordered, authorized, acquiesced in, tolerated, or permitted
  11   other defendants herein to engage in the unlawful and unconstitutional actions, policies,
  12   and practices set forth above. Defendants' conduct alleged herein constitutes a pattern
  13   of intimidation, illicit law enforcement behavior, and statutory and constitutional
  14
       violations based either on a deliberate plan by defendants or on defendants' deliberate
  15
       indifference, gross negligence, or reckless disregard for the safety, security and
  16
       constitutional and statutory rights of Plaintiffs.
  17
                                   THIRD CAUSE OF ACTION
  18                       (Violation of Civil Rights - 42 U.S.C. § 1983)
  19                       Against All Individually Named Defendants

  20         49. Defendants and each of them, acting under color of state law, did without
  21   probable cause and by use of excessive force unlawfully detain, arrest, batter, search,
  22   molest and write false reports about Plaintiffs, and did do all of the above in a
  23   conspiratorial manner for the purpose of illegally obtaining criminal conviction(s)
  24
       against Plaintiffs and to conceal their own wrongdoing and did also do so to intimidate
  25
       Plaintiffs’ witness(es) in said criminal prosecutions for the same improper purposes, all
  26
       of which were intended with deliberate indifference of and reckless disregard for
  27
       Plaintiffs’ constitutional rights under the First, Fourth and Fourteenth Amendments to
  28

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   1   the United States Constitution. As a direct and proximate result of defendants' acts,
   2   Plaintiffs sustained injury and damage as set forth herein.
   3                            FOURTH CAUSE OF ACTION
   4                            (Violation of 42 U.S.C. §1985(2))
                           Against All Individually Named Defendants
   5
             50. Defendants, and two or more of them, in the State of California, County of
   6
       Los Angeles, and City of Maywood-Cudahy, by reason of Defendants' animus against
   7
       minorities, including Plaintiffs’ Latino heritage and invidious animus, conspired
   8

   9   together to act and to fail and omit to act as hereinbefore alleged, for the purpose of (I)

  10   impeding, hindering, obstructing, and defeating the due course of justice in the State of
  11   California and County of Los Angeles, (ii) to deny Plaintiffs Plaintiffs’ right to free
  12   speech, (iv) to deny equal protection of the laws to Plaintiffs and (v) to subject
  13   Plaintiffs’ persons and property to unlawful search and seizure thereby depriving
  14
       Plaintiffs of immunities secured by the Constitution and the laws of the United States,
  15
       including the First, Fourth and Fourteenth Amendments to the Unites States
  16
       Constitution, by, inter alia, ordering, authorizing, maintaining, enforcing, tolerating,
  17
       ratifying, permitting, acquiescing in, and/or applying the policies and practices set forth
  18

  19   hereinabove. Defendants' conspiracy was and is motivated by animus directed against

  20   Plaintiffs because of Plaintiffs’ race, color or national origin, and/or by the race, color,
  21   or national origin of persons with whom they associated, and/or by other class-based,
  22   invidiously discriminatory animus directed against Plaintiffs. In furtherance of the
  23   conspiracy one or more of the defendants committed one or more of the overt acts set
  24
       forth hereinabove which did in fact deprive Plaintiffs of equal rights, privileges or
  25
       immunities.
  26
             51. Defendants, and each of them, purposefully, under color of law, planned and
  27
       conspired to deny Plaintiffs equal protection of the laws in the following respects:
  28

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   1                a. to deny the right to be free from unreasonable search and seizure;
   2                b. to deny the right not to be deprived of life, property or liberty without
   3         due process of law;
   4
                    c. to deny the right of free speech;
   5
                    d. to be free from use of excessive force.
   6
             52. By virtue of the foregoing, defendants, and each of them, violated 42 U.S.C.
   7
       §1985(2).
   8

   9         53. As a direct and proximate result of the foregoing, Plaintiffs have been

  10   damaged as recited above and demand and isentitled to the damages recited above,
  11   including, but not limited to, general and punitive damages (except entities) and
  12   attorney's fees.
  13                               FIFTH CAUSE OF ACTION
  14                              (Violation of 42 U.S.C. §1985(3))
                             Against All Individually Named Defendants
  15
             54. By virtue of the foregoing, Defendants, and two or more of them, conspired
  16
       for the purpose of:
  17
                    a. depriving Plaintiffs of (1) equal protection of the law; and (2) liberty
  18

  19         and property without due process of law.

  20         55. Defendants, and each of them, did and caused to be done, an act or acts in
  21   furtherance of the object of the conspiracy, whereby Plaintiffs were deprived of the
  22   rights and privileges as set forth above.
  23         56. As a direct and proximate result of the foregoing, Plaintiffs are entitled to and
  24
       demands damages against defendants, jointly and severally, as recited in the First and
  25
       Second Causes of Action, including, but not limited to, general and punitive damages
  26
       (except entities) and attorneys fees.
  27
       ///
  28

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   1                              SIXTH CAUSE OF ACTION
                        (California Constitution, Article I, §§ 1, 7, and 13)
   2                                 Against All Defendants
   3         57. The conduct of each defendant in detaining, searching, arresting, and
   4
       assaulting Plaintiffs and in threatening and in doing or failing to do the other wrongful
   5
       acts herein alleged was done for the purpose of interfering with and attempting to
   6
       interfere with Plaintiffs’ rights to freedom of expression, to be free from unreasonable
   7
       invasions of their privacy and unreasonable search and seizure, and to be accorded due
   8

   9   process and equal protection under Article I, §§ 1, 7 and 13 of the California

  10   Constitution.
  11                              SEVENTH CAUSE OF ACTION
                                    (California Civil Code §52.1)
  12                                  Against All Defendants
  13         58. The conduct of each defendant in detaining, searching, and assaulting
  14
       Plaintiffs and in threatening and in doing or failing to do the other wrongful acts herein
  15
       alleged was done for the purpose of interfering with and attempting to interfere with
  16
       Plaintiffs’ rights under the First, Fourth and Fourteenth Amendments and Plaintiffs’
  17
       right to freedom of expression, to be free from unreasonable invasions ofhis privacy and
  18

  19   unreasonable search and seizure and accorded due process and equal protection under

  20   Article I, §§ 1, 7, 12, and 13 of the California Constitution, and for that reason violated
  21   Plaintiffs’ rights under California Civil Code Section 52.1(b). Plaintiffs are informed
  22   and believe and thereon allege that the defendants’ wrongful acts were done maliciously
  23   and criminally and for the purpose of inflicting injury on Plaintiffs.
  24
             59.    As the proximate cause of defendants’ and each of their conduct as
  25
       hereinbefore alleged, Plaintiffs have been damaged in an amount not presently
  26
       ascertained, but subject to proof at trial.
  27
             60. Plaintiffs are informed and believe and thereon allege that Defendants’ and
  28

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   1   each of their conduct was malicious, willful, fraudulent and oppressive, done with a
   2   conscious disregard for Plaintiffs’ rights and with the intent to injure Plaintiffs, thereby
   3   justifying the award of exemplary damages (except for entities) in a sum to be
   4
       determined according to proof.
   5
                                   EIGHTH CAUSE OF ACTION
   6                             (California Civil Code Section 51.7)
                                       Against All Defendants
   7
              61. Plaintiffs are informed and believe and thereon allege that the conduct of
   8

   9   each defendant in using force upon and injuring Plaintiffs and in threatening and

  10   attempting to use force upon and injure Plaintiffs, and in doing or failing to do the other
  11   wrongful acts herein alleged was motivated by defendants' invidious racial and/or ethnic
  12   and/or other impermissible animus toward Plaintiffs, and for that reason violated
  13   Plaintiffs’ rights under California Civil Code § 51.7. Plaintiffs are informed and believe
  14
       and thereon allege that the defendants’ wrongful acts were done maliciously and
  15
       criminally and for the purpose of inflicting injury on Plaintiffs.
  16
                                    NINTH CAUSE OF ACTION
  17                                   (Assault and Battery)
                                       Against all Defendants
  18

  19          62. At the date, time and location, defendants, and each of them, as either

  20   employees, supervisors or employees in the course and scope of their duties
  21   intentionally and maliciously abused Plaintiffs by reason of the acts alleged herein
  22   above causing Plaintiffs, without provocation, necessityor lawful justification, to suffer
  23   said violations of their civil rights.
  24
              63. As a proximate result of the acts of defendants, and each of them, as herein
  25
       alleged, Plaintiffs were compelled to expend money all to their damage in an amount
  26
       according to proof.
  27
              64. As a proximate result of the acts of defendants, and each of them, Plaintiffs
  28

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   1   were injured in health, strength and activity, sustaining injuries to body and shock and
   2   injury to nervous systems and persons; all of which injuries have caused Plaintiffs to
   3   suffer severe pain and mental anguish.
   4
             65. As a further proximate result of the acts of defendants, and each of them,
   5
       Plaintiffs were required to and/or did employ physicians and surgeons for medical
   6
       examination, treatment and care of injuries, and did incur medical and incidental
   7
       expenses. Plaintiffs did incur and will incur further treatment, the exact amount of
   8

   9   which is unknown at this time.

  10         66. As a further proximate result of the acts of defendants, Plaintiffs were
  11   prevented from attending to his usual occupations and thereby lost earnings and income.
  12         67. The acts of defendants, and each of them, were willful, malicious and
  13   oppressive, in conscious disregard of Plaintiffs’ known rights and thereby justify the
  14
       awarding of exemplary damages (except entities) according to proof.
  15
                                  TENTH CAUSE OF ACTION
  16                       (Intentional Infliction of Emotional Distress)
                                      Against all Defendants
  17
             68. Plaintiffs were entitled to the due care, service and protection of the entities
  18

  19   and their officers and medical staff.

  20         69. On or about the dates alleged above and thereafter, Defendants caused the
  21   Plaintiffs to be unlawfully detained, seized, beaten and/or otherwise abused without
  22   reasonable cause or justification.
  23         70. In doing the aforementioned acts, defendants’ conduct was intentional,
  24
       outrageous, malicious, and done for the specific purpose of causing Plaintiffs to suffer
  25
       extreme emotional distress, indignity, fear, anxiety, and mental anguish.
  26
             71. As a direct and proximate result of the foregoing, Plaintiffs have suffered, and
  27
       continue to suffer, severe mental, emotional and physical distress and are entitled to and
  28

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   1   demands damages against defendants.
   2                          ELEVENTH CAUSE OF ACTION
   3
                           (Negligent Employment Civil Code §1714)
                           Against Entities and Supervisor Defendants
   4
             72. Defendant entities and supervisor defendants knew or in the exercise of due
   5
       care should have known, that individually named defendants and Does 1 Through 30
   6
       inclusive, and each of them, had a propensity, character trait, and practice for
   7
       dishonesty, deception, abuse of authority, harassment, and violence without justification
   8

   9   against Plaintiffs and other members of the public.

  10         73. At all times material herein, said Defendant entities and supervisors knew or
  11   with reasonable care should have known, that the aforedescribed traits of character,
  12   practices and propensities of defendants and Does 1 through 30 inclusive, and each of
  13   them, made them unfit to serve as law enforcement officers.
  14
             74.   Notwithstanding such knowledge, Defendant entities and supervisors
  15
       negligently and carelessly employed and retained and failed to properly supervise, train
  16
       and control defendants and Does 1 through 30 inclusive, and each of them, as employees
  17
       and assigned said defendants to duties which enabled each of them to abuse their
  18

  19   authority, including but not limited to making unlawful detentions and arrests by use of

  20   excessive force, warrantless arrests, fabricating probable cause and crimes, causing the
  21   fraudulent and malicious criminal prosecution of innocent persons while purporting to
  22   act under the color of law.
  23         75. As a proximate result of the negligent retention and supervision of defendant
  24
       entities and supervisors and each of them, Plaintiffs suffered damages and injuries,
  25
       including but not limited to false arrests/detentions, beatings, malicious prosecutions,
  26
       severe mental anguish, emotional distress, severe embarrassment, financial losses, all
  27
       to the Plaintiffs’ damage in a sum according to proof.
  28

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   1                               TWELFTH CAUSE OF ACTION
                                    (Negligence/Civil Code § 1714))
   2                                    Against All Defendants
   3         76. Plaintiffs allege that by the actions or omissions set forth above, all
   4
       defendants failed to use and exercise reasonable care as is required by Civil Code §
   5
       1714. In particular, defendants failed to exercise reasonable care in its conduct in the
   6
       exercise of their duties.
   7
             77. As a proximate result of the negligence and carelessness of defendants, and
   8

   9   each of them, Plaintiffs suffered damages as alleged above in a sum according to proof.

  10                                   INJUNCTIVE RELIEF
  11         78. Plaintiffs are informed and believe and thereon allege that, unless enjoined,
  12   as requested in the prayer, defendants will continue to engage in the unlawful acts and
  13   in the policies and practices described above, in violation of the legal and constitutional
  14
       rights of the Plaintiffs. Plaintiffs face the real and immediate threat of repeated and
  15
       irreparable injury and continuing, present adverse effects as a result of the unlawful
  16
       misconduct, policies and practices of the defendants. Plaintiffs have no adequate and
  17
       complete remedy at law.
  18

  19                                          PRAYER

  20             Wherefore, Plaintiffs pray judgment against defendants and each of them, as
  21   follows:
  22      As to each cause of action at to each Plaintiffs as applicable:
  23         1. For general damages according to proof;
  24
             2. For special damages according to proof;
  25
             3. For statutory damages under Cal. Civ. Code §§ 52(a) and/or (b), 52.1(b),
  26
       California Code of Civil Procedure 1021.5, and under any other applicable statute or
  27
       theory;
  28

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   1         4. For punitive damages against each individual Defendant;
   2         5. For attorney's fees pursuant to 42 U.S.C. §1988, California Civil Code §52.1,
   3   California Code of Civil Procedure 1021.5, and under any other applicable statute or
   4
       theory;
   5
             6. For costs of suit;
   6
             7. Declaring, pursuant to 28 U.S.C. §§ 2201-2202 that the acts, policies, rules,
   7
       regulations, practices, customs, and usages that the defendants engaged in as set forth
   8

   9   above violate the legal and constitutional rights of the Plaintiffs.

  10         8. Permanently enjoining defendants and their agents, employees, and successors,
  11   and all persons in active concert or participation with defendants, from engaging in the
  12   unlawful and unconstitutional acts, policies, rules, regulations, practices, customs, and
  13   usages set forth above.
  14
             9. Placing the Maywood-Cudahy Police Department under the direct supervision
  15
       and control of a receiver or special master to be appointed by the Court; directing the
  16
       receiver or special master to review all existing written and unwritten policies and
  17
       procedures of defendants with respect to the acts, policies, rules, regulations, practices,
  18

  19   customs, and usages set forth above; directing the receiver or special master to modify,

  20   amend, or revoke, or to confirm and enforce, existing policies and procedures and to
  21   establish such new or additional written policies and procedures as may be necessary
  22   and proper; and directing the receiver or special master to implement and enforce
  23   appropriate written policies and procedures with respect to the following subjects,
  24
       among others:
  25
                    a. Ensuring compliance with constitutional standards governing the use of
  26
             firearms, the use of force, the conduct of searches, and the use of deadly force.
  27
                    b. Providing adequate training, certification, and periodic recertification
  28

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   1       of all officers in the lawful use of force, including firearms and other deadly
   2       force.
   3                c. Specifying departmentally approved weaponless control techniques,
   4
           and providing for adequate training, certification, and periodic recertification of
   5
           all officers in the use of such techniques.
   6
                    d. Ensuring that members of the public injured by officers receive prompt
   7
           and appropriate medical care, and that their injuries are catalogued and recorded
   8

   9       in police reports and by photographs of all such injuries.

  10                e. Requiring that all persons in custody be transported to a hospital for
  11       examination and treatment by a medical doctor whenever:
  12                      i.     the person sustains a head injury, strikes his or her head on a
  13                             hard object, or sustains a blow to the head, regardless of how
  14
                                 minor any such injury may appear;
  15
                          ii.    the person is choked or is subjected to any control hold
  16
                                 involving the neck, regardless of whether or not the person is
  17
                                 rendered unconscious;
  18

  19                      iii.   the person has any injuries that appear to require medical

  20                             attention;
  21                      iv.    the person requests medical treatment, regardless of whether
  22                             or not the person has any apparent injuries.
  23                f. Prohibiting the use of saps in any circumstances, and prohibiting the use
  24
           of head strikes and strikes to other vital areas of the body by batons or
  25
           flashlights, punches or kicks, except in cases where there is legal justification for
  26
           the use of deadly force.
  27
                    g. Requiring that searches be conducted in a manner which inflicts the
  28

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   1       least amount of damage necessary in order to conduct an adequate search; that
   2       officers be required to photograph or videotape the premises before and after each
   3       and every search; that officers return to their original location and condition all
   4
           items displaced in any search; and that the Maywood-Cudahy Police Department
   5
           pay for the repair or replacement of any property unnecessarily damaged or
   6
           destroyed in the course of any search.
   7
                 h. Recording in writing each instance in which an officer is involved in the
   8

   9       use of force in arresting a suspect or in detaining any person, regardless of

  10       whether an arrest is made.
  11             i. Requiring that any officer who participates in or witnesses any incident
  12       involving the use of force by an officer shall prepare and submit a departmental
  13       report containing detailed information regarding the incident, including:
  14
                        i.     A full description of the actions of the suspect or member of
  15
                               the public which made the use of force necessary;
  16
                        ii.    A full description of the specific force used or observed by
  17
                               the officer;
  18

  19                    iii.   A full description of any injuries or complaints of injuries

  20                           sustained by the suspect or member of the public, including
  21                           photographs or videotapes of the suspect or member of the
  22                           public;
  23                    iv.    A full description of any medical treatment received by and
  24
                               any refusal of such treatment by the suspect or member of the
  25
                               public.
  26
                 j. Establishing a system that allows an immediate on-duty supervisor to
  27
           readily access a historical record of any officer who has used force in a period of
  28

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   1       at least the last 5 years, including the identity of the officer(s) involved in the use
   2       of force, the file number(s) of the report(s) in which the use of force is reported,
   3       and a description of the nature of the force used (e.g., "intentional head strike
   4
           with baton"; "accidental head strike with flashlight"); requiring periodic review
   5
           of such records for patterns of unjustified use of force by officers and institution
   6
           of disciplinary proceedings where appropriate; requiring review of such records
   7
           whenever a supervisor prepares a departmental performance evaluation of any
   8

   9       officer; and requiring that performance evaluations include documentation of any

  10       patterns concerning the unjustified use of force.
  11              k. Providing that, in any situation in which deadly force has been used by
  12       an officer and death or serious injury has resulted, there shall be an administrative
  13       review of the use of force to determine whether it was in compliance with
  14
           departmental policy and constitutional standards, and whether departmental
  15
           policy should be modified in view of the circumstances surrounding the use of
  16
           such force.
  17
                  l. Requiring that, in departmental investigations of officer-involved
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  19       shootings, other use of deadly force by officers, or complaints of officer

  20       misconduct:
  21                     i.     all percipient witnesses (including officers) be segregated
  22                            from each other as soon as practicable after the incident;
  23                     ii.    such witnesses not be permitted to discuss the incident with
  24
                                any other witness until after all witnesses have been
  25
                                interviewed by departmental investigators;
  26
                         iii.   such witnesses not be informed of the contents or substance
  27
                                of the statements of other witnesses until after all witnesses
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   1                           have been interviewed by departmental investigators; and
   2                     iv.   all witness interviews, including interviews of involved
   3                           officers, be fully and completely tape-recorded.
   4
                 m. Indexing by individual officer and maintaining files of complaints by
   5
           members of the public, Cal. Govt. Code § 910 claims, and lawsuits concerning
   6
           officer misconduct; adequately investigating such complaints, claims, and
   7
           lawsuits; and using such files to monitor the conduct of officers.
   8

   9             n. Requiring psychological testing and counseling of officers with a record

  10       of using unreasonable or excessive force, making false arrests, filing false
  11       charges, engaging in related acts of dishonesty, or engaging in racially motivated
  12       misconduct.
  13             o. Maintaining a promotional system which penalizes officers for instances
  14
           of unjustified use of firearms or unjustified use of force, violence, sexual
  15
           innuendo, dishonesty, racial or ethnic bias, or other misconduct.
  16
                 p.   Requiring dismissal of officers involved in instances of sexual
  17
           misconduct, and/or repeatedly involved in instances ofunjustified use of firearms
  18

  19       or unjustified use of force, violence, dishonesty, racial or ethnic bias, or other

  20       misconduct.
  21             q. Requiring that, where an investigation discloses any improper use of
  22       force by an officer, particularly improper use of force which causes serious bodily
  23       injury as defined in Cal. Penal Code § 243, that matter should be referred to the
  24
           District Attorney's Office for consideration of filing a criminal complaint.
  25
                 r. Requiring that, whenever any officer has been judicially determined to
  26
           have engaged in a violation of constitutional or civil rights, whenever a monetary
  27
           settlement has been made or a judgment has been rendered based on the use of
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   1         excessive force by an officer, or whenever any arrest has been made as to which
   2         an officer claims to be the victim of a crime:
   3                       i.     a departmental investigation be conducted, regardless of any
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                                  earlier investigation or the findings thereof;
   5
                           ii.    The investigators review all evidence introduced at trial or
   6
                                  provided to them by any person, and that they interview all
   7
                                  known witnesses including Plaintiffs’ trial experts, and
   8

   9                              interview Plaintiffs’ counsel in any lawsuit alleging officer

  10                              misconduct;
  11                       iii.   a full report be made to the Chief of Police and to the receiver
  12                              or special master with recommendations for or against
  13                              disciplinary or criminal sanctions against the officer.
  14
                   s. Directing that the defendants seek tangible ways (for example, through
  15
             disciplinary measures) to establish the principle that racial and ethnic bias will not
  16
             be tolerated within the Maywood-Cudahy Police Department, and that the
  17
             defendants establish an adequate program of cultural awareness training and
  18

  19         periodic retraining to eliminate racial or ethnic stereotypes for all officers.

  20               t. Directing that the defendants seek tangible ways to establish the
  21         principle that gender bias and discrimination and sexual misconduct will not be
  22         tolerated within the Maywood-Cudahy Police Department, and that the
  23         defendants establish an adequate program of gender awareness training and
  24
             periodic retraining to eliminate any and all gender discrimination and sexual
  25
             misconduct.
  26
       ///
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       ///
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   1        10. For such other and further relief as the Court may deem proper.
   2   DATED: May 12, 2008
   3                         CYNTHIA ANDERSON-BARKER
   4                          ELLEN HAMMILL ELLISON
                                    OLU ORANGE
   5                               ROBERT MANN
                                 DONALD W. COOK
   6                              ATTORNEYS AT LAW
   7

   8                    By ___________________________________
   9                                 Donald W. Cook
                                  Attorneys for Plaintiffs
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   1                           DEMAND FOR JURY TRIAL
   2        Plaintiffs hereby demand a jury trial.
   3   DATED: May 12, 2008
   4
                              CYNTHIA ANDERSON-BARKER
   5                           ELLEN HAMMILL ELLISON
                                     OLU ORANGE
   6                                ROBERT MANN
                                  DONALD W. COOK
   7                               ATTORNEYS AT LAW
   8

   9
                               By
  10                                    Donald W. Cook
                                     Attorneys for Plaintiffs
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